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                                       U.S. Bankruptcy Court

                                   Northern District of Oklahoma

Notice of Electronic Filing

The following transaction was received from N, Brenda entered on 7/26/2019 at 12:00 PM CDT and
filed on 7/26/2019
Case Name:           Tonnie Chicke Nichols and Boris Bernard Nichols
Chapter:             13
Case Number:         19-11334-R
Document Number: 19

Docket Text:
ORDER TO SHOW CAUSE AND SETTING TELEPHONIC HEARING. Debtors have not filed a
Certificate of Credit Counseling as required by 11 U.S.C. Section 109(h)and Bankruptcy Rule 1007(b)
(3) and (c). IT IS ORDERED AND NOTICE IS GIVEN that Debtors shall appear at a telephonic
hearing on 8/7/2019 at 02:30 PM and show cause why the bankruptcy case should not be dismissed for
incomplete filing. Counsel and parties participating in the hearing shall DIAL-IN to the hearing using
the toll-free dial-in number of 877-336-1839 and the Access Code of 7988277#. Matters on the Chapter
13 Docket will be called in the same manner as if the hearings were being held in Courtroom 1.
Participants should refer to Participant Instructions and Telephonic Hearing Protocol . SO ORDERED
by Chief Judge Dana L. Rasure (RE: related document(s)[6] 14 Day Incomplete Filing - Credit
Counseling, [17] 14 Day Incomplete Filing - Credit Counseling). This entry is the Official Order of the
Court. No document is attached. CERTIFICATE OF SERVICE via U.S. Mail to: Certificate of Service
via US Mail to: Boris Bernard Nichols and Tonnie Chicke Nichols, 8562 E. 32nd St., Tulsa OK 74145
(N, Brenda)


19-11334-R Notice will be electronically mailed to:

Lonnie D. Eck
peck@eckchapter13.com, ecf@eckchapter13.com

Office of the United States Trustee
USTPRegion20.TU.ECF@usdoj.gov

19-11334-R Notice will not be electronically mailed to:




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8562 E 32nd St
Tulsa, OK 74145

Tonnie Chicke Nichols
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